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                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                                 PECOS DIVISION

USA                                         §
                                            §
vs.                                         §    Case Number: PE:22-CR-00108(1)-DC
                                            §
(1) Hector Flores Jr.                       §


             ORDER SETTING PRELIMINARY REVOCATION HEARING


IT IS HEREBY ORDERED that the above entitled and numbered case is set for
PRELIMINARY REVOCATION HEARING on December 28, 2022, at 9:30 AM in the
Magistrate Courtroom, 410 South Cedar, Pecos, Texas 79772.

IT IS FURTHER ORDERED that the Clerk of Court shall send a copy of this order to the
defendant, counsel for defendant, the United States Attorney, U.S. Pretrial Services, United
States Probation Office, and any surety or custodian, if applicable. Further, counsel for
the defendant shall notify the defendant of this setting. If the defendant is on bond, he/she
shall be present.


IT IS SO ORDERED this 19th day of December, 2022.




                                            ______________________________
                                            DAVID B. FANNIN
                                            UNITED STATES MAGISTRATE JUDGE
